                                                                                                     Ex. 10



                     IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF TEXAS AUSTIN DIVISION

 HOMELAND INSURANCE COMPANY                    §
 OF NEW YORK,                                  §
                                               §
                                               §
        Plaintiff,                             §
                                               §
 v.                                            §     CIVIL ACTION NO. 1:20-cv-783
                                               §
 CLINICAL PATHOLOGY                            §
 LABORATORIES, INC., SONIC                     §
 HEALTHCARE USA, INC., MEDLAB                  §
 PATHOLOGY, SONIC HEALTHCARE                   §
 (IRELAND) LIMITED, AND SONIC                  §
 HEALTHCARE LIMITED,                           §
                                               §
        Defendants.                            §


            DEFENDANT CLINICAL PATHOLOGY LABORATORIES, INC.’S
                   OBJECTIONS AND RESPONSES TO PLAINTIFF’S
            FIRST SET OF REQUESTS FOR PRODUCTION OF DOCUMENTS


       Pursuant to Rule 34 of the Federal Rules of Civil Procedure, Defendant Clinical Pathology

Laboratories, Inc. (“CPL”) serves the following objections and responses to Plaintiff Homeland

Insurance Company of New York’s (“Homeland” or “Plaintiff”) First Set of Requests for

Production of Documents (“Requests”).

                                  GENERAL OBJECTIONS

       1.      CPL’s objections are based on the information and documents available and known

to CPL at this time. Further investigation and analysis may disclose additional information

responsive to the Requests. In addition, future events may affect the relevance or responsiveness

of answers. CPL reserves the right to amend, supplement, or withdraw any objections to the




                                                                                      Page 1 of 44
                                                                                                         Ex. 10



Requests as necessary or appropriate in light of information or knowledge obtained during the

course of discovery in this matter.

        2.      CPL objects to the Requests to the extent they seek information or documents that

are protected by attorney-client privilege, the attorney work-product doctrine, the joint-defense

doctrine, the common-interest doctrine, or any other applicable privilege, protection, restriction,

or immunity from discovery. Nothing contained in these objections is intended to be, nor should

be construed as, a waiver of any privilege or protection.

        3.      CPL objects to the Requests to the extent they seek information or documents that

are already in Homeland’s possession, custody, or control, or to the extent that they seek

information not within the possession, custody, or control of CPL.

        4.      CPL objects to the Requests to the extent they seek information or documents that

are obtainable from some other source that is more convenient and/or less burdensome, including

other parties to this action or third parties,

        5.      CPL objects to the Requests to the extent they seek information or documents that

are publicly available, including newspaper articles, court papers or filings, or documents available

on the internet.

        6.      CPL objects to the Requests to the extent they seek to impose any requirement or

discovery obligation different from those under the Federal Rules of Civil Procedure, the Local

Rules, and other applicable rules and/or orders of the Court.

        7.      CPL objects to the Requests to the extent they are vague, ambiguous, overbroad,

unduly burdensome, unreasonably cumulative or duplicative, or oppressive, and to the extent that

they seek information that is irrelevant, immaterial, and/or not proportional to the needs of this

case.




                                                                                          Page 2 of 44
                                                                                                         Ex. 10



       8.       CPL objects to the Requests to the extent they require the disclosure of, or seek

documents containing, confidential, trade secret, proprietary, and/or otherwise protected

information.

       9.       CPL objects to the Requests to the extent they seek information that is protected

from disclosure by any protective order or confidentiality, licensing, or non-disclosure agreement

binding on CPL.

       10.      CPL objects to the Requests to the extent they may be construed to require CPL to

concede the relevance or materiality of information or documents sought by the Requests.

       11.      CPL’s responses to the Requests are not intended to be, and shall not be construed

as, an agreement or concurrence by CPL with Homeland’s characterization of any fact and/or

circumstance.

       12.      CPL’s responses are subject to and do not wave:

                a.     all questions or objections as to (i) the competency, relevancy, materiality,

                       or admissibility of evidence, or (ii) the use of any of the responses given or

                       documents produced or the subject matter thereof in any subsequent

                       proceeding or trial in this or any other action or for any other purpose;

                b.     the right to object to other discovery proceedings involving or related to the

                       subject matter of the Request to which these responses are directed; and

                c.     the right at any time to revise, correct, supplement, or clarify any or all of

                       the objections and responses, all of which are given subject to correction of

                       any such omissions or errors.

       13.      CPL’s objections and responses do not constitute an adoption of Homeland’s

purported “Definitions” of words or phrases contained in the Requests. Plaintiff objects to the




                                                                                          Page 3 of 44
                                                                                                          Ex. 10



“Definitions” to the extent they are (1) unclear, ambiguous, overbroad, or unduly burdensome; (2)

are inconsistent with the ordinary and customary meaning of words or phrases that they purport to

define; and (3) purport to impose any requirement or discovery obligation beyond those set forth

in the Federal Rules of Civil Procedure, the Local Rules, the Federal Rules of Evidence, other

applicable rules and orders of this Court, or pertinent case law.

       14.     Where CPL has stated that it will produce non-privileged, responsive documents

and/or information, such statements do not confirm that such documents and/or information are

known to exist or do, in fact, exist.

       15.     CPL objects to the Requests to the extent they purport to require CPL to produce

“any” or “all” documents that support various of CPL’s claims or theories. CPL is not required to

know, at this stage, “any” or “all” such documents, nor is CPL required to disclose the mental

impressions of counsel as to the significance of various documents. Production of any non-

privileged, responsive documents and/or information does not, and shall not be construed as, a

waiver of the ability to supplement these responses or as a confirmation that what is produced

constitutes “any” or “all” documents supporting any of CPL’s claims or theories.

       16.     CPL objects to the Requests to the extent they require CPL to make legal

conclusions or state legal theories or reasoning.

       17.     CPL objects to the Requests to the extent they require CPL to interpret provisions

of any insurance policies or other contracts.

       18.     Documents produced by CPL in response to these Requests are subject to any

protective order that is entered by the Court in this action.

       19.     CPL will collect and produce electronically stored information (“ESI”) consistent

with, and subject to, any ESI-related order that is entered by the Court in this action.




                                                                                           Page 4 of 44
                                                                                                      Ex. 10



       20.     CPL objects to Definition 3 insofar as it provides that “You” and “Your” mean and

refer to, among other things, “insurance agents/brokers” for CPL. The relevant broker, AON, is

an independent entity who acted as an intermediary between CPL and Homeland and/or

OneBeacon.     Thus, CPL does not respond to these Requests on behalf of any “insurance

agents/brokers.”

       21.     CPL objects to Definition 3 insofar as it provides that “You” and “Your” mean and

refer to, among other things, “related (parent or subsidiary) entities” of CPL. CPL does not

respond to these Requests on behalf of any of its “related entities.” Such is in accord with the

2017 Policy (as defined in the Requests), which provides in pertinent part that “[n]o knowledge or

information possessed by any Insured shall be imputed to any other Insured.”

       22.     CPL objects to Definition 4 insofar as it provides that “CPL” mean and refer to,

among other things, “related (parent or subsidiary) entities” of CPL. CPL does not respond to

these Requests on behalf of any of its “related entities.” Such is in accord with the 2017 Policy

(as defined in the Requests), which provides in pertinent part that “[n]o knowledge or information

possessed by any Insured shall be imputed to any other Insured.”

       23.     All Responses set forth below are subject to and without waiver of any of the

foregoing general objections and the other more specific objections set forth below in response to

each Request. CPL may not, in every instance, repeat or specifically incorporate these objections,

however, they are intended to apply to all of its responses.




                                                                                       Page 5 of 44
                                                                                                        Ex. 10



                     OBJECTIONS AND RESPONSES TO REQUESTS

        1.      All DOCUMENTS and COMMUNICATIONS that evidence, refer, reflect, or
relate to YOUR Board (including any Board Committee) Meeting Minutes from January 1, 2010
to the present which reference or discuss the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because the

term “Board Meeting Minutes” is undefined and therefore vague and ambiguous. CPL also

specifically objects to this Request as overbroad and unduly burdensome insofar as it seeks “all

documents and communications . . . which reference or discuss the CervicalCheck program” rather

than only those documents and communications that are relevant to the parties’ claims or defenses

and that are proportional to the needs of this case. The Irish CervicalCheck Program has been in

place for over twelve years. CPL provided certain cervical cancer screening services for the

program from August 2010 to July 2013. During that period, CPL reviewed 326,260 samples.

The incidence rate of invasive cervical cancer is low; from 1994 to 2016, less than 0.016% of

women in Ireland developed invasive cervical cancer on an annual basis. This case concerns

whether CPL is entitled to insurance coverage under the Policies for a small number of claims

brought by or on behalf of women who developed invasive cervical cancer. Given the number of

samples read by CPL (326,260), the low incidence rate of invasive cervical cancer (less than

0.016%), and the fact that the Policies were only in effect from June 30, 2016 to June 30, 2018,

this case necessarily involves only a small sliver of the available information related to the Irish

CervicalCheck Program. That is even more so the case given that Homeland’s coverage defenses

are based upon allegations of CPL’s pre-policy period conduct or knowledge (i.e., things CPL

allegedly did or knew before June 30, 2016). CPL accordingly has no obligation, under Federal

Rule of Civil Procedure 26(b)(1), to produce “all documents and communications . . . which

reference or discuss the CervicalCheck program.” Rather, under Federal Rule of Civil Procedure



                                                                                         Page 6 of 44
                                                                                                         Ex. 10



26(b)(1), CPL is only obligated to produce nonprivileged documents and communications that are

relevant to the parties’ claims or defenses and that are proportional to the needs of this case.

       Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged documents and communications created or made prior to June 30, 2016 that are

responsive to this Request, that are in CPL’s possession, custody, or control, and that regard

(a) actual or potential liability arising out of the Irish CervicalCheck Program, (b) actual or

potential claims (or threatened claims) arising out of the Irish CervicalCheck Program, (c) Cancer

Audit Reviews, and/or (d) insurance coverage for any actual or potential claims relating to the Irish

CervicalCheck Program. CPL will also produce non-privileged and responsive documents and

communications regarding the claim(s) it seeks coverage for under the Policies (e.g., documents

and communications regarding the Ms. S claim).

        2.      All DOCUMENTS and COMMUNICATIONS that evidence, refer, reflect, or
relate to YOUR Board (including any Board Committee) Meeting Minutes from January 1, 2010
to the present which reference or discuss insurance coverage for any actual or potential claim
relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 1 insofar as it seeks a subset of documents sought through Request No.

1. For that reason, CPL incorporates by reference its response to Request No. 1.

        3.      All DOCUMENTS and COMMUNICATIONS that evidence, refer, reflect, or
relate to YOUR Board (including any Board Committee) Meeting Minutes from January 1, 2010
to the present which reference or discuss the Irish Cancer Audit Reviews.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 1 insofar as it seeks a subset of documents sought through Request No.

1. For that reason, CPL incorporates by reference its response to Request No. 1.




                                                                                          Page 7 of 44
                                                                                                        Ex. 10



        4.      All DOCUMENTS and COMMUNICATIONS that evidence, refer, reflect, or
relate to YOUR Board (including any Board Committee) Meeting Minutes from January 1, 2010
to the present which reference or discuss any claims made or threatened to be made by any person
relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 1 insofar as it seeks a subset of documents sought through Request No.

1. For that reason, CPL incorporates by reference its response to Request No. 1.

        5.      All DOCUMENTS and COMMUNICATIONS that evidence, refer, reflect, or
relate to YOUR Board (including any Board Committee) Meeting Minutes from January 1, 2010
to the present which reference or discuss any facts suggesting the potential for claims against CPL,
MEDLAB, SONIC, SONIC USA, and/or SONIC IRELAND related to the CervicalCheck
program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 1 insofar as it seeks a subset of documents sought through Request No.

1. For that reason, CPL incorporates by reference its response to Request No. 1.

        6.     All DOCUMENTS and COMMUNICATIONS that evidence, refer, reflect, or
relate to YOUR Executive Meeting Minutes from January 1, 2010 to the present which reference
or discuss the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because the

term “Executive Meeting Minutes” is undefined and therefore vague and ambiguous. CPL also

specifically objects to this Request as overbroad and unduly burdensome insofar as it seeks “all

documents and communications . . . which reference or discuss the CervicalCheck program” rather

than only those documents and communications that are relevant to the parties’ claims or defenses

and that are proportional to the needs of this case. The Irish CervicalCheck Program has been in

place for over twelve years. CPL provided certain cervical cancer screening services for the




                                                                                         Page 8 of 44
                                                                                                          Ex. 10



program from August 2010 to July 2013. During that period, CPL reviewed 326,260 samples.

The incidence rate of invasive cervical cancer is low; from 1994 to 2016, less than 0.016% of

women in Ireland developed invasive cervical cancer on an annual basis. This case concerns

whether CPL is entitled to insurance coverage under the Policies for a small number of claims

brought by or on behalf of women who developed invasive cervical cancer. Given the number of

samples read by CPL (326,260), the low incidence rate of invasive cervical cancer (less than

0.016%), and the fact that the Policies were only in effect from June 30, 2016 to June 30, 2018,

this case necessarily involves only a small sliver of the available information related to the Irish

CervicalCheck Program. That is even more so the case given that Homeland’s coverage defenses

are based upon allegations of CPL’s pre-policy period conduct or knowledge (i.e., things CPL

allegedly did or knew before June 30, 2016). CPL accordingly has no obligation, under Federal

Rule of Civil Procedure 26(b)(1), to produce “all documents and communications . . . which

reference or discuss the CervicalCheck program.” Rather, under Federal Rule of Civil Procedure

26(b)(1), CPL is only obligated to produce nonprivileged documents and communications that are

relevant to the parties’ claims or defenses and that are proportional to the needs of this case.

       Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged documents and communications created or made prior to June 30, 2016 that are

responsive to this Request, that are in CPL’s possession, custody, or control, and that regard (a)

actual or potential liability arising out of the Irish CervicalCheck Program, (b) actual or potential

claims (or threatened claims) arising out of the Irish CervicalCheck Program, (c) Cancer Audit

Reviews, and/or (d) insurance coverage for any actual or potential claims relating to the Irish

CervicalCheck Program. CPL will also produce non-privileged and responsive documents and




                                                                                           Page 9 of 44
                                                                                                     Ex. 10



communications regarding the claim(s) it seeks coverage for under the Policies (e.g., documents

and communications regarding the Ms. S claim).

        7.     All DOCUMENTS and COMMUNICATIONS that evidence, refer, reflect, or
relate to YOUR Executive Meeting Minutes from January 1, 2010 to the present which reference
or discuss insurance coverage for any actual or potential claim relating to the CervicalCheck
program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 6 insofar as it seeks a subset of documents sought through Request No.

6. For that reason, CPL incorporates by reference its response to Request No. 6.

        8.      All DOCUMENTS and COMMUNICATIONS that evidence, refer, reflect, or
relate to YOUR Executive Meeting Minutes from January 1, 2010 to the present which reference
or discuss the Irish Cancer Audit Reviews.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 6 insofar as it seeks a subset of documents sought through Request No.

6. For that reason, CPL incorporates by reference its response to Request No. 6.

        9.     All DOCUMENTS and COMMUNICATIONS that evidence, refer, reflect, or
relate to YOUR Executive Meeting Minutes from January 1, 2010 to the present which reference
or discuss any claims made or threatened to be made by any person relating to the CervicalCheck
program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 6 insofar as it seeks a subset of documents sought through Request No.

6. For that reason, CPL incorporates by reference its response to Request No. 6.




                                                                                     Page 10 of 44
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        10.    All DOCUMENTS and COMMUNICATIONS that evidence, refer, reflect, or
relate to YOUR Executive Meeting Minutes from January 1, 2010 to the present which reference
or discuss any facts suggesting the potential for claims against CPL, MEDLAB, SONIC, SONIC
USA, and/or SONIC IRELAND related to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 6 insofar as it seeks a subset of documents sought through Request No.

6. For that reason, CPL incorporates by reference its response to Request No. 6.

       11.   All COMMUNICATIONS between YOU and AON which reference or discuss the
CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request as overbroad

and unduly burdensome insofar as it seeks “all communications . . . which reference or discuss the

CervicalCheck program” rather than only those communications that are relevant to the parties’

claims or defenses and that are proportional to the needs of this case. The Irish CervicalCheck

Program has been in place for over twelve years. CPL provided certain cervical cancer screening

services for the program from August 2010 to July 2013. During that period, CPL reviewed

326,260 samples. The incidence rate of invasive cervical cancer is low; from 1994 to 2016, less

than 0.016% of women in Ireland developed invasive cervical cancer on an annual basis. This

case concerns whether CPL is entitled to insurance coverage under the Policies for a small number

of claims brought by or on behalf of women who developed invasive cervical cancer. Given the

number of samples read by CPL (326,260), the low incidence rate of invasive cervical cancer (less

than 0.016%), and the fact that the Policies were only in effect from June 30, 2016 to June 30,

2018, this case necessarily involves only a small sliver of the available information related to the

Irish CervicalCheck Program. That is even more so the case given that Homeland’s coverage

defenses are based upon allegations of CPL’s pre-policy period conduct or knowledge (i.e., things




                                                                                        Page 11 of 44
                                                                                                          Ex. 10



CPL allegedly did or knew before June 30, 2016). CPL accordingly has no obligation, under

Federal Rule of Civil Procedure 26(b)(1), to produce “all communications . . . which reference or

discuss the CervicalCheck program.” Rather, under Federal Rule of Civil Procedure 26(b)(1),

CPL is only obligated to produce nonprivileged documents and communications that are relevant

to the parties’ claims or defenses and that are proportional to the needs of this case.

       Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged communications made prior to June 30, 2016 that are responsive to this Request, that

are in CPL’s possession, custody, or control, and that regard (a) actual or potential liability arising

out of the Irish CervicalCheck Program, (b) actual or potential claims (or threatened claims) arising

out of the Irish CervicalCheck Program, (c) Cancer Audit Reviews, and/or (d) insurance coverage

for any actual or potential claims relating to the Irish CervicalCheck Program. CPL will also

produce non-privileged and responsive communications regarding the claim(s) it seeks coverage

for under the Policies (e.g., documents and communications regarding the Ms. S claim).

       12.     All COMMUNICATIONS between YOU and AON concerning insurance
coverage for any actual or potential claim relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 11 insofar as it seeks a subset of documents sought through Request

No. 11. For that reason, CPL incorporates by reference its response to Request No. 11.

        13.   All COMMUNICATIONS between YOU and AON which reference or discuss the
Irish Cancer Audit Reviews.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 11 insofar as it seeks a subset of documents sought through Request

No. 11. For that reason, CPL incorporates by reference its response to Request No. 11.




                                                                                          Page 12 of 44
                                                                                                       Ex. 10



       14.    All COMMUNICATIONS between YOU and AON which reference or discuss any
claims made or threatened to be made by any person relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 11 insofar as it seeks a subset of documents sought through Request

No. 11. For that reason, CPL incorporates by reference its response to Request No. 11.

        15.    All COMMUNICATIONS between YOU and AON which reference or discuss any
facts suggesting the potential for claims against CPL, MEDLAB, SONIC, SONIC USA, and/or
SONIC IRELAND related to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 11 insofar as it seeks a subset of documents sought through Request

No. 11. For that reason, CPL incorporates by reference its response to Request No. 11.

       16.     All COMMUNICATIONS from or to the office of the Risk Manager at SONIC
referenced in CPL’s May 15, 2018 bulk claim report to HOMELAND.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because CPL

does not possess, has no custody over, and is not in control of, “all communications from or to the

office of the Risk Manager at Sonic,” a separate legal entity.

       Subject to and without waiving any objections, CPL will produce on a rolling basis any

non-privileged communications in its possession, custody, or control that are responsive to this

Request.




                                                                                       Page 13 of 44
                                                                                                        Ex. 10



        17.     All DOCUMENTS that evidence, refer, reflect, or relate to COMMUNICATIONS
from or to the office of the Risk Manager at SONIC referenced in CPL’s May 15, 2018 bulk claim
report to HOMELAND.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because CPL

does not possess, has no custody over, and is not in control of, “all documents” relating to

“communications from or to the office of the Risk Manager at Sonic,” a separate legal entity.

       Subject to and without waiving any objections, CPL will produce on a rolling basis any

non-privileged documents in its possession, custody, or control that are responsive to this Request.

       18.    All COMMUNICATIONS between YOU and the office of the Risk Manager (or
any office or person having similar functions) at CPL, MEDLAB, SONIC, SONIC USA, or
SONIC IRELAND relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request as overbroad

and unduly burdensome insofar as it seeks “all communications . . . relating to the CervicalCheck

program” rather than only those communications that are relevant to the parties’ claims or defenses

and that are proportional to the needs of this case. The Irish CervicalCheck Program has been in

place for over twelve years. CPL provided certain cervical cancer screening services for the

program from August 2010 to July 2013. During that period, CPL reviewed 326,260 samples.

The incidence rate of invasive cervical cancer is low; from 1994 to 2016, less than 0.016% of

women in Ireland developed invasive cervical cancer on an annual basis. This case concerns

whether CPL is entitled to insurance coverage under the Policies for a small number of claims

brought by or on behalf of women who developed invasive cervical cancer. Given the number of

samples read by CPL (326,260), the low incidence rate of invasive cervical cancer (less than

0.016%), and the fact that the Policies were only in effect from June 30, 2016 to June 30, 2018,

this case necessarily involves only a small sliver of the available information related to the Irish




                                                                                        Page 14 of 44
                                                                                                          Ex. 10



CervicalCheck Program. That is even more so the case given that Homeland’s coverage defenses

are based upon allegations of CPL’s pre-policy period conduct or knowledge (i.e., things CPL

allegedly did or knew before June 30, 2016). CPL accordingly has no obligation, under Federal

Rule of Civil Procedure 26(b)(1), to produce “all communications . . . relating to the CervicalCheck

program.” Rather, under Federal Rule of Civil Procedure 26(b)(1), CPL is only obligated to

produce nonprivileged communications that are relevant to the parties’ claims or defenses and that

are proportional to the needs of this case.

       Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged communications made prior to June 30, 2016 that are responsive to this Request, that

are in CPL’s possession, custody, or control, and that regard (a) actual or potential liability arising

out of the Irish CervicalCheck Program, (b) actual or potential claims (or threatened claims) arising

out of the Irish CervicalCheck Program, (c) Cancer Audit Reviews, and/or (d) insurance coverage

for any actual or potential claims relating to the Irish CervicalCheck Program. CPL will also

produce non-privileged and responsive communications regarding the claim(s) it seeks coverage

for under the Policies (e.g., communications regarding the Ms. S claim).

       19.    All COMMUNICATIONS between YOU and the office of the Risk Manager (or
any office or person having similar functions) at CPL, MEDLAB, SONIC, SONIC USA, or
SONIC IRELAND concerning insurance coverage for any actual or potential claim relating to the
CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 18 insofar as it seeks a subset of documents sought through Request

No. 18. For that reason, CPL incorporates by reference its response to Request No. 18.




                                                                                          Page 15 of 44
                                                                                                      Ex. 10



       20.    All COMMUNICATIONS between YOU and the office of the Risk Manager (or
any office or person having similar functions) at CPL, MEDLAB, SONIC, SONIC USA, or
SONIC IRELAND relating to the Irish Cancer Audit Reviews.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 18 insofar as it seeks a subset of documents sought through Request

No. 18. For that reason, CPL incorporates by reference its response to Request No. 18.

       21.     All COMMUNICATIONS between YOU and the office of the Risk Manager (or
any office or person having similar functions) at CPL, MEDLAB, SONIC, SONIC USA, or
SONIC IRELAND which reference or discuss any claims made or threatened to be made by any
person relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 18 insofar as it seeks a subset of documents sought through Request

No. 18. For that reason, CPL incorporates by reference its response to Request No. 18.

       22.    All COMMUNICATIONS between YOU and the office of the Risk Manager (or
any office or person having similar functions) at CPL, MEDLAB, SONIC, SONIC USA, or
SONIC IRELAND which reference or discuss any facts suggesting the potential for claims against
CPL, MEDLAB, SONIC, SONIC USA, and/or SONIC IRELAND related to the CervicalCheck
program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 18 insofar as it seeks a subset of documents sought through Request

No. 18. For that reason, CPL incorporates by reference its response to Request No. 18.

       23.     All COMMUNICATIONS between YOU and YOUR external auditor which
reference or discuss the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request as overbroad

and unduly burdensome insofar as it seeks “all communications . . . which reference or discuss the




                                                                                      Page 16 of 44
                                                                                                        Ex. 10



CervicalCheck program” rather than only those communications that are relevant to the parties’

claims or defenses and that are proportional to the needs of this case. The Irish CervicalCheck

Program has been in place for over twelve years. CPL provided certain cervical cancer screening

services for the program from August 2010 to July 2013. During that period, CPL reviewed

326,260 samples. The incidence rate of invasive cervical cancer is low; from 1994 to 2016, less

than 0.016% of women in Ireland developed invasive cervical cancer on an annual basis. This

case concerns whether CPL is entitled to insurance coverage under the Policies for a small number

of claims brought by or on behalf of women who developed invasive cervical cancer. Given the

number of samples read by CPL (326,260), the low incidence rate of invasive cervical cancer (less

than 0.016%), and the fact that the Policies were only in effect from June 30, 2016 to June 30,

2018, this case necessarily involves only a small sliver of the available information related to the

Irish CervicalCheck Program. That is even more so the case given that Homeland’s coverage

defenses are based upon allegations of CPL’s pre-policy period conduct or knowledge (i.e., things

CPL allegedly did or knew before June 30, 2016). CPL accordingly has no obligation, under

Federal Rule of Civil Procedure 26(b)(1), to produce “all communications . . . which reference or

discuss the CervicalCheck program.” Rather, under Federal Rule of Civil Procedure 26(b)(1),

CPL is only obligated to produce nonprivileged communications that are relevant to the parties’

claims or defenses and that are proportional to the needs of this case.

       Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged communications created or made prior to June 30, 2016 that are responsive to this

Request, that are in CPL’s possession, custody, or control, and that regard (a) actual or potential

liability arising out of the Irish CervicalCheck Program, (b) actual or potential claims (or

threatened claims) arising out of the Irish CervicalCheck Program, (c) Cancer Audit Reviews,




                                                                                        Page 17 of 44
                                                                                                        Ex. 10



and/or (d) insurance coverage for any actual or potential claims relating to the Irish CervicalCheck

Program. CPL will also produce non-privileged and responsive communications regarding the

claim(s) it seeks coverage for under the Policies (e.g., documents and communications regarding

the Ms. S claim).

       24.    All COMMUNICATIONS between YOU and YOUR external auditor concerning
insurance coverage for any actual or potential claim relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 23 insofar as it seeks a subset of documents sought through Request

No. 23. For that reason, CPL incorporates by reference its response to Request No. 23.

       25.     All COMMUNICATIONS between YOU and YOUR external auditor which
reference or discuss the Irish Cancer Audit Reviews.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 23 insofar as it seeks a subset of documents sought through Request

No. 23. For that reason, CPL incorporates by reference its response to Request No. 23.

       26.     All COMMUNICATIONS between YOU and YOUR external auditor which
reference or discuss any claims made or threatened to be made by any person relating to the
CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 23 insofar as it seeks a subset of documents sought through Request

No. 23. For that reason, CPL incorporates by reference its response to Request No. 23.




                                                                                        Page 18 of 44
                                                                                                        Ex. 10



       27.      All COMMUNICATIONS between YOU and YOUR external auditor which
reference or discuss any facts suggesting the potential for claims against CPL, MEDLAB, SONIC,
SONIC USA, and/or SONIC IRELAND related to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 23 insofar as it seeks a subset of documents sought through Request

No. 23. For that reason, CPL incorporates by reference its response to Request No. 23.

       28.     All COMMUNICATIONS between YOU and YOUR internal auditor which
reference or discuss the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request as overbroad

and unduly burdensome insofar as it seeks “all communications . . . which reference or discuss the

CervicalCheck program” rather than only those communications that are relevant to the parties’

claims or defenses and that are proportional to the needs of this case. The Irish CervicalCheck

Program has been in place for over twelve years. CPL provided certain cervical cancer screening

services for the program from August 2010 to July 2013. During that period, CPL reviewed

326,260 samples. The incidence rate of invasive cervical cancer is low; from 1994 to 2016, less

than 0.016% of women in Ireland developed invasive cervical cancer on an annual basis. This

case concerns whether CPL is entitled to insurance coverage under the Policies for a small number

of claims brought by or on behalf of women who developed invasive cervical cancer. Given the

number of samples read by CPL (326,260), the low incidence rate of invasive cervical cancer (less

than 0.016%), and the fact that the Policies were only in effect from June 30, 2016 to June 30,

2018, this case necessarily involves only a small sliver of the available information related to the

Irish CervicalCheck Program. That is even more so the case given that Homeland’s coverage

defenses are based upon allegations of CPL’s pre-policy period conduct or knowledge (i.e., things




                                                                                        Page 19 of 44
                                                                                                          Ex. 10



CPL allegedly did or knew before June 30, 2016). CPL accordingly has no obligation, under

Federal Rule of Civil Procedure 26(b)(1), to produce “all communications . . . which reference or

discuss the CervicalCheck program.” Rather, under Federal Rule of Civil Procedure 26(b)(1),

CPL is only obligated to produce nonprivileged communications that are relevant to the parties’

claims or defenses and that are proportional to the needs of this case.

       Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged communications made prior to June 30, 2016 that are responsive to this Request, that

are in CPL’s possession, custody, or control, and that regard (a) actual or potential liability arising

out of the Irish CervicalCheck Program, (b) actual or potential claims (or threatened claims) arising

out of the Irish CervicalCheck Program, (c) Cancer Audit Reviews, and/or (d) insurance coverage

for any actual or potential claims relating to the Irish CervicalCheck Program. CPL will also

produce non-privileged and responsive communications regarding the claim(s) it seeks coverage

for under the Policies (e.g., documents and communications regarding the Ms. S claim).

       29.    All COMMUNICATIONS between YOU and YOUR internal auditor concerning
insurance coverage for any actual or potential claim relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 28 insofar as it seeks a subset of documents sought through Request

No. 28. For that reason, CPL incorporates by reference its response to Request No. 28.

       30.     All COMMUNICATIONS between YOU and YOUR internal auditor which
reference or discuss the Irish Cancer Audit Reviews.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 28 insofar as it seeks a subset of documents sought through Request

No. 28. For that reason, CPL incorporates by reference its response to Request No. 28.




                                                                                          Page 20 of 44
                                                                                                     Ex. 10



       31.     All COMMUNICATIONS between YOU and YOUR internal auditor which
reference or discuss any claims made or threatened to be made by any person relating to the
CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 28 insofar as it seeks a subset of documents sought through Request

No. 28. For that reason, CPL incorporates by reference its response to Request No. 28.

       32.      All COMMUNICATIONS between YOU and YOUR internal auditor which
reference or discuss any facts suggesting the potential for claims against CPL, MEDLAB, SONIC,
SONIC USA, and/or SONIC IRELAND related to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 28 insofar as it seeks a subset of documents sought through Request

No. 28. For that reason, CPL incorporates by reference its response to Request No. 28.

       33.   All internal DOCUMENTS (including, but not limited to, COMMUNICATIONS,
notes, memoranda, summaries, and bulletins) that evidence, refer, reflect, or relate to the
CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request as overbroad

and unduly burdensome insofar as it seeks “all internal documents” which reference or relate to

the “CervicalCheck program” rather than only those documents that are relevant to the parties’

claims or defenses and that are proportional to the needs of this case. The Irish CervicalCheck

Program has been in place for over twelve years. CPL provided certain cervical cancer screening

services for the program from August 2010 to July 2013. During that period, CPL reviewed

326,260 samples. The incidence rate of invasive cervical cancer is low; from 1994 to 2016, less

than 0.016% of women in Ireland developed invasive cervical cancer on an annual basis. This

case concerns whether CPL is entitled to insurance coverage under the Policies for a small number




                                                                                     Page 21 of 44
                                                                                                         Ex. 10



of claims brought by or on behalf of women who developed invasive cervical cancer. Given the

number of samples read by CPL (326,260), the low incidence rate of invasive cervical cancer (less

than 0.016%), and the fact that the Policies were only in effect from June 30, 2016 to June 30,

2018, this case necessarily involves only a small sliver of the available information related to the

Irish CervicalCheck Program. That is even more so the case given that Homeland’s coverage

defenses are based upon allegations of CPL’s pre-policy period conduct or knowledge (i.e., things

CPL allegedly did or knew before June 30, 2016). CPL accordingly has no obligation, under

Federal Rule of Civil Procedure 26(b)(1), to produce “all internal documents” which reference or

relate to the “CervicalCheck program.” Rather, under Federal Rule of Civil Procedure 26(b)(1),

CPL is only obligated to produce nonprivileged documents that are relevant to the parties’ claims

or defenses and that are proportional to the needs of this case.

       Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged documents created or made prior to June 30, 2016 that are responsive to this Request,

that are in CPL’s possession, custody, or control, and that regard (a) actual or potential liability

arising out of the Irish CervicalCheck Program, (b) actual or potential claims (or threatened claims)

arising out of the Irish CervicalCheck Program, (c) Cancer Audit Reviews, and/or (d) insurance

coverage for any actual or potential claims relating to the Irish CervicalCheck Program. CPL will

also produce non-privileged and responsive documents regarding the claim(s) it seeks coverage

for under the Policies (e.g., documents and communications regarding the Ms. S claim).




                                                                                         Page 22 of 44
                                                                                                      Ex. 10



       34.     All internal DOCUMENTS (including, but not limited to, COMMUNICATIONS,
notes, memoranda, summaries, and bulletins) that evidence, refer, reflect, or relate to insurance
coverage for any actual or potential claim relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 33 insofar as it seeks a subset of documents sought through Request

No. 33. For that reason, CPL incorporates by reference its response to Request No. 33.

       35.    All internal DOCUMENTS (including, but not limited to, COMMUNICATIONS,
notes, memoranda, summaries, and bulletins) that evidence, refer, reflect, or relate to the Irish
Cancer Audit Reviews.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 33 insofar as it seeks a subset of documents sought through Request

No. 33. For that reason, CPL incorporates by reference its response to Request No. 33.

       36.     All internal DOCUMENTS (including, but not limited to, COMMUNICATIONS,
notes, memoranda, summaries, and bulletins) that evidence, refer, reflect, or relate to any claims
made or threatened to be made by any person relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 33 insofar as it seeks a subset of documents sought through Request

No. 33. For that reason, CPL incorporates by reference its response to Request No. 33.




                                                                                      Page 23 of 44
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       37.     All internal DOCUMENTS (including, but not limited to, COMMUNICATIONS,
notes, memoranda, summaries, and bulletins) that evidence, refer, reflect, or relate to any facts
suggesting the potential for claims against CPL, MEDLAB, SONIC, SONIC USA, and/or SONIC
IRELAND related to the CervicalCheck program.

RESPONSE:

         CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 33 insofar as it seeks a subset of documents sought through Request

No. 33. For that reason, CPL incorporates by reference its response to Request No. 33.

         38.    All COMMUNICATIONS between YOU and William Fry regarding the Ms.
claim.

RESPONSE:

         CPL renews its General Objections. CPL specifically objects to this Request because it

seeks communications that are protected by attorney-client privilege.

        39.    All DOCUMENTS that evidence, refer, reflect, or relate to William Fry’s analysis
or evaluation of the Ms.  claim.

RESPONSE:

         CPL renews its General Objections. CPL specifically objects to this Request because it

seeks attorney work-product and/or documents protected by attorney-client privilege.

      40.   All COMMUNICATIONS between or among YOU and CPL, MEDLAB, SONIC,
SONIC USA, and/or SONIC IRELAND relating to or triggered by Irish Cancer Audit Reviews in
2012-2013.

RESPONSE:

         CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.




                                                                                       Page 24 of 44
                                                                                                        Ex. 10



      41.  All COMMUNICATIONS between or among AON and CPL, MEDLAB, SONIC,
SONIC USA, and/or SONIC IRELAND relating to or triggered by Irish Cancer Audit Reviews
2012-2013.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because CPL

does not possess, has no custody over, and is not in control of, “all communications” to or from

AON, a separate and independent entity.

       Subject to and without waiving any objections, CPL will produce on a rolling basis any

non-privileged communications that are responsive to this Request and that are in CPL’s

possession, custody, or control.

       42.   All DOCUMENTS that evidence, refer, reflect, or relate to any monthly slide
review meetings (as referenced in the NCSS site visit to CPL report from in or around May of
2011) that YOU attended concerning the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because the

term “monthly slide review meetings” is undefined and therefore vague and ambiguous. CPL also

specifically objects to this Request as overbroad and unduly burdensome insofar as it seeks “all

documents . . . concerning the CervicalCheck program” rather than only those documents that are

relevant to the parties’ claims or defenses and that are proportional to the needs of this case. The

Irish CervicalCheck Program has been in place for over twelve years. CPL provided certain

cervical cancer screening services for the program from August 2010 to July 2013. During that

period, CPL reviewed 326,260 samples. The incidence rate of invasive cervical cancer is low;

from 1994 to 2016, less than 0.016% of women in Ireland developed invasive cervical cancer on

an annual basis. This case concerns whether CPL is entitled to insurance coverage under the

Policies for a small number of claims brought by or on behalf of women who developed invasive

cervical cancer. Given the number of samples read by CPL (326,260), the low incidence rate of




                                                                                        Page 25 of 44
                                                                                                         Ex. 10



invasive cervical cancer (less than 0.016%), and the fact that the Policies were only in effect from

June 30, 2016 to June 30, 2018, this case necessarily involves only a small sliver of the available

information related to the Irish CervicalCheck Program. That is even more so the case given that

Homeland’s coverage defenses are based upon allegations of CPL’s pre-policy period conduct or

knowledge (i.e., things CPL allegedly did or knew before June 30, 2016). CPL accordingly has

no obligation, under Federal Rule of Civil Procedure 26(b)(1), to produce “all documents . . .

concerning the CervicalCheck program.” Rather, under Federal Rule of Civil Procedure 26(b)(1),

CPL is only obligated to produce nonprivileged documents that are relevant to the parties’ claims

or defenses and that are proportional to the needs of this case.

       Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged documents created or made prior to June 30, 2016 that are responsive to this Request,

that are in CPL’s possession, custody, or control, and that regard (a) actual or potential liability

arising out of the Irish CervicalCheck Program, (b) actual or potential claims (or threatened claims)

arising out of the Irish CervicalCheck Program, (c) Cancer Audit Reviews, and/or (d) insurance

coverage for any actual or potential claims relating to the Irish CervicalCheck Program. CPL will

also produce non-privileged and responsive documents regarding the claim(s) it seeks coverage

for under the Policies (e.g., documents and communications regarding the Ms. S claim).

        43.    All COMMUNICATIONS between or among YOU and CPL, MEDLAB, SONIC,
SONIC USA, and/or SONIC IRELAND relating to monthly slide review meetings (as referenced
in the NCSS site visit to CPL report from in or around May of 2011) concerning the CervicalCheck
program.

RESPONSE:

        CPL renews its General Objections. CPL specifically objects to this Request because the

term “monthly slide review meetings” is undefined and therefore vague and ambiguous. CPL also

specifically objects to this Request as overbroad and unduly burdensome insofar as it seeks “all




                                                                                         Page 26 of 44
                                                                                                          Ex. 10



communications . . . concerning the CervicalCheck program” rather than only those

communications that are relevant to the parties’ claims or defenses and that are proportional to the

needs of this case. The Irish CervicalCheck Program has been in place for over twelve years. CPL

provided certain cervical cancer screening services for the program from August 2010 to July

2013. During that period, CPL reviewed 326,260 samples. The incidence rate of invasive cervical

cancer is low; from 1994 to 2016, less than 0.016% of women in Ireland developed invasive

cervical cancer on an annual basis. This case concerns whether CPL is entitled to insurance

coverage under the Policies for a small number of claims brought by or on behalf of women who

developed invasive cervical cancer. Given the number of samples read by CPL (326,260), the low

incidence rate of invasive cervical cancer (less than 0.016%), and the fact that the Policies were

only in effect from June 30, 2016 to June 30, 2018, this case necessarily involves only a small

sliver of the available information related to the Irish CervicalCheck Program. That is even more

so the case given that Homeland’s coverage defenses are based upon allegations of CPL’s pre-

policy period conduct or knowledge (i.e., things CPL allegedly did or knew before June 30, 2016).

CPL accordingly has no obligation, under Federal Rule of Civil Procedure 26(b)(1), to produce

seeks “all communications . . . concerning the CervicalCheck program.” Rather, under Federal

Rule of Civil Procedure 26(b)(1), CPL is only obligated to produce nonprivileged communications

that are relevant to the parties’ claims or defenses and that are proportional to the needs of this

case.

        Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged communications made prior to June 30, 2016 that are responsive to this Request, that

are in CPL’s possession, custody, or control, and that regard (a) actual or potential liability arising

out of the Irish CervicalCheck Program, (b) actual or potential claims (or threatened claims) arising




                                                                                          Page 27 of 44
                                                                                                     Ex. 10



out of the Irish CervicalCheck Program, (c) Cancer Audit Reviews, and/or (d) insurance coverage

for any actual or potential claims relating to the Irish CervicalCheck Program. CPL will also

produce non-privileged and responsive communications regarding the claim(s) it seeks coverage

for under the Policies (e.g., documents and communications regarding the Ms. S claim).

       44.    If it is YOUR contention that YOU did not have any knowledge of the 2012-2013
Irish Cancer Audit Reviews results as of July 27, 2016, please provide any DOCUMENTS and
COMMUNICATIONS that support YOUR contention.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request to the extent

that it suggests that CPL has any burden to prove whether and when it had knowledge of the

2012-2013 Irish Cancer Audit Reviews. CPL also specifically objects to the form of this Request.

       Subject to and without waiving any objections, CPL will produce on a rolling basis any

non-privileged documents and communications that are responsive to this Request.

        45.     All DOCUMENTS and COMMUNICATIONS that evidence, refer, reflect, or
relate to insurance coverage YOU have under any policy with Vero for any actual or potential
claim arising out of or relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

states that, during the relevant period, CPL had no insurance coverage under any policy issued by

Vero. CPL will nevertheless produce on a rolling basis any non-privileged documents and

communications that are in CPL’s possession, custody, or control, and that are responsive to this

Request, to the extent any exist.




                                                                                     Page 28 of 44
                                                                                                        Ex. 10



        46.     All DOCUMENTS and COMMUNICATIONS that evidence, refer, reflect, or
relate to denial(s) of insurance coverage for YOU under any policy with Vero for any actual or
potential claim arising out of or relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

states that, during the relevant period, CPL had no insurance coverage under any policy issued by

Vero. CPL will nevertheless produce on a rolling basis any non-privileged documents and

communications that are in CPL’s possession, custody, or control, and that are responsive to this

Request, to the extent any exist.

       47.     All COMMUNICATIONS between YOU and Vero concerning any actual or
potential claim arising out of or relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

states that, during the relevant period, CPL had no insurance coverage under any policy issued by

Vero. CPL will nevertheless produce on a rolling basis any non-privileged communications that

are in CPL’s possession, custody, or control, and that are responsive to this Request, to the extent

any exist.

        48.    All DOCUMENTS that evidence, refer, reflect, or relate to YOUR tender of any
actual or potential claim arising out of or relating to the CervicalCheck program to Vero.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 47 insofar as it seeks a subset of documents sought through Request

No. 47. For that reason, CPL incorporates by reference its response to Request No. 47.




                                                                                        Page 29 of 44
                                                                                                        Ex. 10



        49.    All DOCUMENTS that evidence, refer, reflect, or relate to YOUR tender of any
actual or potential claim arising out of or relating to the CervicalCheck program to any insurer
other than Vero and HOMELAND.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it

seeks information that is irrelevant to any party’s claims or defenses in this case, in violation of

Federal Rule of Civil Procedure 26(b)(1). Documents regarding CPL’s tender of claims to insurers

who issued policies subsequent to those issued by Homeland are irrelevant to any party’s claims

or defenses in this case and therefore are not subject to production under Federal Rule of Civil

Procedure 26(b)(1).

       Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged documents that are responsive to this Request, that are in its possession, custody, or

control, and that regard CPL’s tender of actual or potential claims relating to the Irish

CervicalCheck Program to insurers that issued policies to CPL that cover periods during or before

the periods of coverage afforded by the Policies.

       50.     All COMMUNICATIONS between YOU and Vero concerning the Ms.
       matter.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 47 insofar as it seeks a subset of documents sought through Request

No. 47. For that reason, CPL incorporates by reference its response to Request No. 47.




                                                                                        Page 30 of 44
                                                                                                       Ex. 10



     51.    All COMMUNICATIONS between or among YOU and CPL, MEDLAB, SONIC,
SONIC USA, and/or SONIC IRELAND concerning the Ms.        matter.

RESPONSE:

          CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.

          52.     All COMMUNICATIONS between YOU and AON concerning the Ms.
          matter.

RESPONSE:

          CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 12 insofar as it seeks a subset of documents sought through Request

No. 12. For that reason, CPL incorporates by reference its response to Request No. 12.

          53.    All COMMUNICATIONS between YOU and Vero concerning the Ms.
matter.

RESPONSE:

          CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 47 insofar as it seeks a subset of documents sought through Request

No. 47. For that reason, CPL incorporates by reference its response to Request No. 47.

     54.    All COMMUNICATIONS between or among YOU and CPL, MEDLAB, SONIC,
SONIC USA, and/or SONIC IRELAND concerning the Ms.    matter.

RESPONSE:

          CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.




                                                                                       Page 31 of 44
                                                                                                       Ex. 10



          55.    All COMMUNICATIONS between YOU and AON concerning the Ms.
matter.

RESPONSE:

          CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 12 insofar as it seeks a subset of documents sought through Request

No. 12. For that reason, CPL incorporates by reference its response to Request No. 12.

          56.    All COMMUNICATIONS between YOU and Vero concerning the Ms.
matter.

RESPONSE:

          CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 47 insofar as it seeks a subset of documents sought through Request

No. 47. For that reason, CPL incorporates by reference its response to Request No. 47.

     57.    All COMMUNICATIONS between or among YOU and CPL, MEDLAB, SONIC,
SONIC USA, and/or SONIC IRELAND concerning the Ms. matter.

RESPONSE:

          CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.

          58.    All COMMUNICATIONS between YOU and AON concerning the Ms.
matter.

RESPONSE:

          CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 12 insofar as it seeks a subset of documents sought through Request

No. 12. For that reason, CPL incorporates by reference its response to Request No. 12.




                                                                                       Page 32 of 44
                                                                                                       Ex. 10



          59.    All COMMUNICATIONS between YOU and Vero concerning the Ms.
matter.

RESPONSE:

          CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 47 insofar as it seeks a subset of documents sought through Request

No. 47. For that reason, CPL incorporates by reference its response to Request No. 47.

     60.    All COMMUNICATIONS between or among YOU and CPL, MEDLAB, SONIC,
SONIC USA, and/or SONIC IRELAND concerning the Ms.  matter.

RESPONSE:

          CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.

          61.    All COMMUNICATIONS between YOU and AON concerning the Ms.
matter.

RESPONSE:

          CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 12 insofar as it seeks a subset of documents sought through Request

No. 12. For that reason, CPL incorporates by reference its response to Request No. 12.

        62.    All COMMUNICATIONS between or among YOU and CPL, MEDLAB, SONIC,
SONIC USA, and/or SONIC IRELAND regarding the Irish government’s decision to notify
affected patients about the results of the Irish Cancer Audit Reviews.

RESPONSE:

          CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.




                                                                                       Page 33 of 44
                                                                                                       Ex. 10



      63.    All COMMUNICATIONS between YOU and AON regarding the Irish
government’s decision to notify affected patients about the results of the Irish Cancer Audit
Reviews.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 13 insofar as it seeks a subset of documents sought through Request

No. 13. For that reason, CPL incorporates by reference its response to Request No. 13.

         64.     All COMMUNICATIONS between YOU and HOMELAND that evidence, refer,
reflect, or relate to any actual or potential claim arising out of or relating to the CervicalCheck
program.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.

         65.     All COMMUNICATIONS between YOU and HOMELAND that evidence, refer,
reflect, or relate to procurement of the 2016 POLICY.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.

         66.     All COMMUNICATIONS between YOU and HOMELAND that evidence, refer,
reflect, or relate to procurement of the Worldwide Territory Endorsement.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 65 insofar as it seeks a subset of documents sought through Request

No. 65. For that reason, CPL incorporates by reference its response to Request No. 65.




                                                                                       Page 34 of 44
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         67.     All COMMUNICATIONS between YOU and HOMELAND that evidence, refer,
reflect, or relate to the addition of MEDLAB and SONIC IRELAND to the 2016 POLICY.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 65 insofar as it seeks a subset of documents sought through Request

No. 65. For that reason, CPL incorporates by reference its response to Request No. 65.

         68.     All COMMUNICATIONS between YOU and HOMELAND that evidence, refer,
reflect, or relate to procurement of the 2017 POLICY.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.

         69.    All COMMUNICATIONS between YOU and AON that evidence, refer, reflect, or
relate to procurement of the 2016 POLICY.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.

         70.    All COMMUNICATIONS between YOU and AON that evidence, refer, reflect, or
relate to procurement of the Worldwide Territory Endorsement.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 69 insofar as it seeks a subset of documents sought through Request

No. 69. For that reason, CPL incorporates by reference its response to Request No. 69.




                                                                                    Page 35 of 44
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         71.    All COMMUNICATIONS between YOU and AON that evidence, refer, reflect, or
relate to the addition of MEDLAB and SONIC IRELAND to the 2016 POLICY.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 69 insofar as it seeks a subset of documents sought through Request

No. 69. For that reason, CPL incorporates by reference its response to Request No. 69.

         72.    All COMMUNICATIONS between YOU and AON that evidence, refer, reflect, or
relate to procurement of the 2017 POLICY.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.

       73.   All COMMUNICATIONS between or among YOU and CPL, MEDLAB, SONIC,
SONIC IRELAND, and/or SONIC USA that evidence, refer, reflect, or relate to procurement of
the 2016 POLICY.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.

     74.   All COMMUNICATIONS between or among YOU and CPL, MEDLAB, SONIC,
SONIC IRELAND, and/or SONIC USA that evidence, refer, reflect, or relate to the addition of
MEDLAB and SONIC IRELAND to the 2016 POLICY.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 73 insofar as it seeks a subset of documents sought through Request

No. 73. For that reason, CPL incorporates by reference its response to Request No. 73.




                                                                                    Page 36 of 44
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      75.    All COMMUNICATIONS between or among YOU and CPL, MEDLAB, SONIC,
SONIC IRELAND, and/or SONIC USA that evidence, refer, reflect, or relate to procurement of
the Worldwide Territory Endorsement.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 73 insofar as it seeks a subset of documents sought through Request

No. 73. For that reason, CPL incorporates by reference its response to Request No. 73.

       76.   All COMMUNICATIONS between or among YOU and CPL, MEDLAB, SONIC,
SONIC IRELAND, and/or SONIC USA that evidence, refer, reflect, or relate to procurement of
the 2017 POLICY.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged communications that are responsive to this

Request and that are in CPL’s possession, custody, or control.

       77.     All COMMUNICATIONS between YOU and Ireland’s Health Service Executive,
National Cancer Control Programme, National Cancer Screening Services, or National Screening
Service that evidence, refer, reflect, or relate to the Irish Cancer Audit Reviews.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request as overbroad

and unduly burdensome insofar as it seeks “all communications” relating to the “Irish Cancer

Audit Reviews” rather than only those communications that are relevant to the parties’ claims or

defenses and that are proportional to the needs of this case. This case concerns whether CPL is

entitled to insurance coverage under the Policies for a small number of claims brought by or on

behalf of women who developed invasive cervical cancer. Homeland’s coverage defenses are

based upon allegations of CPL’s pre-policy period conduct or knowledge (i.e., things CPL

allegedly did or knew before June 30, 2016). CPL accordingly has no obligation, under Federal

Rule of Civil Procedure 26(b)(1), to produce “all communications” relating to the “Irish Cancer




                                                                                    Page 37 of 44
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Audit Reviews.” Rather, under Federal Rule of Civil Procedure 26(b)(1), CPL is only obligated

to produce nonprivileged communications that are relevant to the parties’ claims or defenses and

that are proportional to the needs of this case.

       Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged communications made prior to June 30, 2016 that are responsive to this Request, that

are in CPL’s possession, custody, or control, and that regard Cancer Audit Reviews.

        78.     All COMMUNICATIONS between YOU and Ireland’s Health Service Executive,
National Cancer Control Programme, National Cancer Screening Services, or National Screening
Service that evidence, refer, reflect, or relate to insurance coverage for any actual or potential claim
relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request as overbroad

and unduly burdensome insofar as it seeks “all communications” relating to the “insurance

coverage for any actual or potential claim relating to the CervicalCheck program” rather than only

those communications that are relevant to the parties’ claims or defenses and that are proportional

to the needs of this case. This case concerns whether CPL is entitled to insurance coverage under

the Policies for a small number of claims brought by or on behalf of women who developed

invasive cervical cancer. Homeland’s coverage defenses are based upon allegations of CPL’s pre-

policy period conduct or knowledge (i.e., things CPL allegedly did or knew before June 30, 2016).

CPL accordingly has no obligation, under Federal Rule of Civil Procedure 26(b)(1), to produce

“all communications” relating to the “insurance coverage for any actual or potential claim relating

to the CervicalCheck program.” Rather, under Federal Rule of Civil Procedure 26(b)(1), CPL is

only obligated to produce nonprivileged communications that are relevant to the parties’ claims or

defenses and that are proportional to the needs of this case.




                                                                                           Page 38 of 44
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       Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged communications made prior to June 30, 2016 that are responsive to this Request, that

are in CPL’s possession, custody, or control, and that regard insurance coverage for any actual or

potential claim relating to the CervicalCheck program.

        79.     All COMMUNICATIONS between YOU and Ireland’s Health Service Executive,
National Cancer Control Programme, National Cancer Screening Services, or National Screening
Service which reference or discuss any claims made or threatened to be made by any person
relating to the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request as overbroad

and unduly burdensome insofar as it seeks “all communications” relating to “any claims made or

threatened to be made by any person relating to the CervicalCheck program” rather than only those

communications that are relevant to the parties’ claims or defenses and that are proportional to the

needs of this case. This case concerns whether CPL is entitled to insurance coverage under the

Policies for a small number of claims brought by or on behalf of women who developed invasive

cervical cancer. Homeland’s coverage defenses are based upon allegations of CPL’s pre-policy

period conduct or knowledge (i.e., things CPL allegedly did or knew before June 30, 2016). CPL

accordingly has no obligation, under Federal Rule of Civil Procedure 26(b)(1), to produce “all

communications” relating to “any claims made or threatened to be made by any person relating to

the CervicalCheck program.” Rather, under Federal Rule of Civil Procedure 26(b)(1), CPL is only

obligated to produce nonprivileged communications that are relevant to the parties’ claims or

defenses and that are proportional to the needs of this case.

       Subject to and without waiving any objections, CPL will produce on a rolling basis non-

privileged communications made prior to June 30, 2016 that are responsive to this Request, that




                                                                                        Page 39 of 44
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are in CPL’s possession, custody, or control, and that regard any claims made or threatened to be

made by any person relating to the CervicalCheck program.

       80.    All COMMUNICATIONS between YOU and Ireland’s Health Service Executive,
National Cancer Control Programme, National Cancer Screening Services, or National Screening
Service which reference or discuss any facts suggesting the potential for claims against CPL,
MEDLAB, SONIC, SONIC USA, and/or SONIC IRELAND related to the CervicalCheck
program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

duplicative of Request No. 79 insofar as it seeks a subset of documents sought through Request

No. 79. For that reason, CPL incorporates by reference its response to Request No. 79.

       81.    All DOCUMENTS that evidence or reflect contracts and agreements between YOU
and Ireland’s Health Service Executive, National Cancer Control Programme, National Cancer
Screening Services, and/or National Screening Service relating to services performed for the
CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it

seeks information that is irrelevant to any party’s claims or defenses in this case, in violation of

Federal Rule of Civil Procedure 26(b)(1). This case concerns whether CPL is entitled to insurance

coverage under the Policies for a small number of claims brought by or on behalf of women who

developed invasive cervical cancer. Homeland’s coverage defenses are based upon allegations of

CPL’s pre-policy period conduct or knowledge (i.e., things CPL allegedly did or knew before June

30, 2016). Documents related to contracts or agreements between CPL and other entities have no

bearing on Homeland’s coverage defenses or whether CPL is entitled to insurance coverage under

the Policies and therefore such documents are not subject to production pursuant to Federal Rule

of Civil Procedure 26(b)(1).




                                                                                        Page 40 of 44
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        82.     All DOCUMENTS that evidence, refer, reflect, or relate to contracts or agreements
between or among YOU and CPL, MEDLAB, SONIC, SONIC IRELAND, and/or SONIC USA
relating to services performed for the CervicalCheck program.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it

seeks information that is irrelevant to any party’s claims or defenses in this case, in violation of

Federal Rule of Civil Procedure 26(b)(1). This case concerns whether CPL is entitled to insurance

coverage under the Policies for a small number of claims brought by or on behalf of women who

developed invasive cervical cancer. Homeland’s coverage defenses are based upon allegations of

CPL’s pre-policy period conduct or knowledge (i.e., things CPL allegedly did or knew before June

30, 2016). Documents related to contracts or agreements between CPL and other entities have no

bearing on Homeland’s coverage defenses or whether CPL is entitled to insurance coverage under

the Policies and therefore such documents are not subject to production pursuant to Federal Rule

of Civil Procedure 26(b)(1).

       83.     The Irish Supreme Court judgment in the Ruth and Paul Morrissey v. HSE, et al.
matter delivered on or about March 19, 2020, and any underlying Irish High Court decisions or
judgments upon which the Supreme Court judgment was based.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it is

overly burdensome and seeks information that Homeland already possesses or that is equally

available to Homeland.

       84.     All DOCUMENTS that YOU contend support YOUR First Count (Breach of
Contract) against HOMELAND.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged documents that are responsive to this Request.




                                                                                        Page 41 of 44
                                                                                                      Ex. 10



        85.    All DOCUMENTS that YOU contend support YOUR Second Count (Chapter 542
of the Texas Insurance Code) against HOMELAND.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged documents that are responsive to this Request.

       86.     All DOCUMENTS that YOU contend support YOUR Third Count (Attorneys’
Fees) against HOMELAND.

RESPONSE:

       CPL renews its General Objections. Subject to and without waiving any objections, CPL

will produce on a rolling basis any non-privileged documents that are responsive to this Request.

         87.    Any response YOU provided to William Fry’s April 2, 2020 summary of key points
in the Irish Supreme Court decision in the Ruth and Paul Morrissey v. HSE, et al. matter.

RESPONSE:

       CPL renews its General Objections. CPL specifically objects to this Request because it

seeks communications that are protected by attorney-client privilege.

                                        *       *      *




                                                                                      Page 42 of 44
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Dated: March 10, 2021

                        Respectfully submitted,


                        By: /s/ Greg Van Houten
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                           ATTORNEYS FOR DEFENDANT
                           CLINICAL PATHOLOGY
                           LABORATORIES, INC.




                                                              Page 43 of 44
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                               CERTIFICATE OF SERVICE

       I, Greg Van Houten, hereby certify that on this 10th day of March 2021, I served counsel

for Homeland with a copy of Defendant Clinical Pathology Laboratories Inc.’s objections and

responses to Plaintiff Homeland Insurance Company of New York’s First Set of Requests for

Production of Documents. I effectuated service via e-mail.



                                                             /s/ Greg Van Houten




                                                                                   Page 44 of 44
